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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION


    ULTRAVISION TECHNOLOGIES, LLC,
                                                       Case No. 2:19-cv-00291-JRG-RSP
                   Plaintiff,

    v.

    HOLOPHANE EUROPE LIMITED,
    ACUITY BRANDS LIGHTING DE
    MEXICO S DE RL DE CV, HOLOPHANE
    S.A. DE C.V., and ARIZONA (TIANJIN)
    ELECTRONICS PRODUCTS TRADE
    COMPANY, LTD.,

                   Defendants.


                                DECLARATION OF GLENN RICHESON

          I, Glenn Richeson, declare as follows:

          1.      I am over the age of 21 and the following is true and correct to the best of my

   personal knowledge. If called as a witness, I could and would testify on behalf of Defendants

   competently thereto.

          2.      I am an attorney at Duane Morris, LLP and counsel of record for the Defendants

   in the above-captioned litigation. I submit this declaration in support of Defendants’ Motion for

   Summary Judgment of Non-Infringement of U.S. Patent Nos. 8,870,410 and 8,870,413, filed

   concurrently herewith.

          3.      Attached hereto as Exhibit 1 is a true and correct copy of U.S. Patent No.

   8,870,410 (Asserted Patent).

          4.      Attached hereto as Exhibit 2 is a true and correct copy of U.S. Patent No.

   8,870,413 (Asserted Patent).
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          5.      Attached hereto as Exhibit 3 is a true and correct copy of Plaintiff Ultravision’s

   Infringement Contentions Cover Pleading served on January 28, 2020.

          6.      Attached hereto as Exhibit 4 is a true and correct copy of excerpts from the

   Rebuttal Expert Report of Michael N. Gershowitz, PE Regarding Non-Infringement of U.S.

   Patent Nos. 8,870,410, 8,870,413, and 10,223,946.

          7.




          8.




          9.      Attached hereto as Exhibit 7 is a true and correct copy of a November 5, 2020

   letter from Plaintiff’s Counsel, Mr. Joseph Mercadante, to Defendants’ Counsel, Mr. Matthew

   Yungwirth regrading infringement allegations.

          10.

                                                                 .

          11.     Attached hereto as Exhibit 9 is a true and correct copy of U.S. Patent No.

   10,223,946 (Asserted Patent).

          I declare under the penalty of perjury under the laws of het United States that the

   foregoing is true and correct.

          Executed this 23rd day of November, 2020.



                                                /s/ Glenn Richeson
                                                Glenn Richeson



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